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PS 8
(Rev. 8/13)



                                    United States District Court
                                                              for

                                                 Western District of Oklahoma

U.S.A. vs.     Mitchell Green                             Docket No. CR-24-213-R-1

                                    Petition for Action on Conditions ofPretrial Release


         COMES NOW             Candice Jones                    ,pretrial services/probation officer, presenting
an official report upon the conduct of defendant      Mitchell Green                                     ,who was
placed under pretrial release supervision by the Honorable      Amanda Maxfield Green                   ,sitting in
the court at    Western District of Oklahoma                31®'    date of                   May              ,        2024
under the following conditions:

The defendant shall immediately report to the U.S. Probation Officer possession and/or use ofcomputers, mobile devices,
or other devices capable ofconnecting to the internet. The defendant shall submit to an initial inspection by the U.S.
Probation Office and to any periodic or continuous examinations during supervision ofthe defendant's computer and any
devices, programs, or application. The defendant shall allow the installation of any hardware or software systems which
monitor or filter computer use. The defendant shall warn any third parties who own or use such equipment that any
computer used by the defendant may be subject to examination and monitoring. The defendant shall contribute to the cost
ofcomputer monitoring in an amount to be determined by the probation officer, based on the defendant's ability to pay.
          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                           (If short, insert here. If lengthy, write on separate sheet and attach.)

On July 31,2024,the defendant admitted he was in possession ofa smart phone capable ofconnecting to the internet, which
was not reported to the U.S. Probation Office. The defendant admitted to possessing the smart phone and accessing the
internet on July 31,2024. At the time of this report, the whereabouts ofthe smart phone is unknown.

Having reviewed the allegations made in this petition made by the United States Probation Officer,the
United States moves the Court pursuant to 18 U.S.C. §3148(b)to initiate revocation proceedings against
THE DEFENDANT.


TELEPHONICALLY APPROVED BY AUSA BRANDON HALE


Assistant United States Attorney
PRAYING THAT THE COURT WILL ORDER THE ISSUANCE OF A WARRANT FOR HIS ARREST AND
REVOKE THE DEFENDANT'S BOND.

                                                                      I declare under penalty of perjury that the foregoing
                                                                       is true and correct.
                 ORDER OF COURT

Considered and ordered this                                            Executed on August 7,2024
                                      and ordered filed

and made a part ofthe records in the above case.
               /]_/3                                                             U.S. Pretrial Services/Probation Officer

                   U.S. District Jtfdge                               Place               Oklahoma City, Oklahoma
